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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
VOLKSWAGEN AG, et_al_., )
Plaintiffs, §
v. § l:l7-cv-97O (LMB/IDD)
SYED IQBAL, et_al_., §
Defendants. §

ORDER

 

Before the Court is a Report and Recommendation (“Report”) issued by a magistrate
judge on April 19, 2018 [Dkt. No. 73], which recommended that plaintiffs Volkswagen AG,
Audi AG, and Volkswagen Group of America, Inc.’s (collectively, “plaintiffs”) Motion for Entry
of Default Judgment [Dkt. No. 65] be granted and that default judgment be entered against
defendants Syed Iqbal, Ehsan Shareeff, Shariq Syed, Said Awad, Saood Abbasi, and Kashif
Islam (collectively, “defendants”) on Counts l, 2, and 3 of the First Amended Verified
Complaint. §§ Report at 13. The parties were advised that any objections to the Report had to
be filed within 14 days and that failure to tile a timely objection waived the right to appeal any
judgment based on the Report. § at l4. As of May 9, 2018, no party has filed an objection. The
Court has reviewed the Report, plaintiffs motion for default judgment, and the case file and
adopts the Report in full.

The magistrate judge correctly determined that the Court has subject matter jurisdiction
over this action under 28 U.S.C. § 1331 because it involves federal questions arising under the
Lanharn Act. Report at 2. The magistrate judge also correctly concluded that this Court has

personal jurisdiction over defendants because defendants “directed electronic activity into

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Virginia” by offering “to sell their counterfeit products to residents of Virginia” and because
defendants “shipped their counterfeit products into Virginia.” li at 3. Moreover, the magistrate
judge correctly concluded that venue is appropriate in this district under 28 U.S.C. § 139l(b)(3)
because defendants are not all residents of the same State and a substantial part of the events
giving rise to plaintiffs’ claims have not occurred in any single district but defendants are subject
to personal jurisdiction in this district. Li Lastly, the magistrate judge has correctly concluded
that plaintiffs properly served defendant Awad by “leaving a copy of the summons and Amended
Complaint at Awad’S dwelling with a ‘co-occupant’ of suitable age and discretion” and properly
served the remaining defendants, all of whom are residents of Canada, by publishing notice of
this lawsuit and emailing notice to the email addresses that these defendants supplied to PayPal,
Inc. when registering for accounts. § at 3-4.

The Court finds that the magistrate judge correctly determined that plaintiffs have
pleaded the requirements for obtaining relief with respect to each of the three counts.
Specifically, plaintiffs have adequately pleaded that they own valid, registered trademarks, that
defendants knowingly used colorable imitations of those marks that were likely to cause
confusion among consumers, and that defendants have sold counterfeit items in relation to their
imitations of the those marks through eBay intemet stores. § at 8. Accordingly, plaintiffs have
adequately pleaded that defendants engaged in trademark infringement and counterfeiting, in
violation of 15 U.S.C. § 1114 (Count l). In addition, the magistrate judge correctly found that
plaintiffs have adequately pleaded that defendants have used their marks in connection with the
sale of goods in a way that is likely to cause confusion or mistake as to the affiliation between
defendants’ goods and plaintiffs, in violation Of 15 U.S.C. § 1125(a) (Count 2). Li at 8-9. The

magistrate judge also correctly found that plaintiffs have adequately pleaded that defendants’

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sale of counterfeit products that are of lower quality than plaintiffs’ genuine products harms the
reputation of plaintiffs’ marks and therefore causes actual dilution of plaintiffs’ trademarks, in
violation of 15 U.S.C. § 1125(c) (Count 3). I_d. at 9. Lastly, the magistrate judge correctly found
that plaintiffs are entitled to statutory damages pursuant to 15 U.S.C. § 1117(c)(2), that the
nature of defendants’ willful violations of plaintiffs’ marks through the sale of counterfeit goods
justifies plaintiffs’ requested damages of $2,000,000 for each of the Volkswagen mark and the
Audi mark, that plaintiffs are entitled to pre- and postjudgment interest, and that plaintiffs are
entitled to a permanent injunction pursuant to 15 U.S.C. § 1 l 16(a). LI. at 9-13.

Accordingly, the Report is ADOPTED and plaintist Motion for Default Judgment [Dkt.
No. 65] is GRANTED, and it is hereby

ORDERED that default judgment be and is entered against defendants Syed Iqbal, Ehsan
Shareeff, Shariq Syed, Said Awad, Saood Abbasi, and Kashif Islam jointly and severally in the
total amount of $4,000,000.00 (consisting of $2 million in statutory damages for each of the 2
identified trademark violations), With prejudgment interest calculated in accordance With Va.
Code § 6.2~302 and accruing from July 1, 2017 until the date of entry of judgment and
postjudgment interest calculated in accordance with 28 U.S.C. § 1961 and accruing from the date
of entry of judgment; and it is further

ORDERED that PayPal shall continue to freeze all PayPal accounts associated with
defendants Syed Iqbal, Ehsan Shareeff, Shariq Syed, Said Awad, Saood Abbasi, and Kashif
Islam and restrain and enjoin from transfer any monies held in such accounts until the judgment

entered in this civil action is satisfied; and it is iiirther

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ORDERED that defendants Syed Iqbal, Ehsan Shareeff, Shariq Syed, Said Awad, Saood
Abbasi, and Kashif Islam, together with all those in active concert or participation with them, are
enjoined from making, using, selling, or offering for sale the Volkswagen and Audi trademarks

The Clerk is directed to enter judgment in this matter pursuant to Fed. R. Civ. P. 55,
forward copies of this Order to counsel of record and defendants at the postal address and email
addresses listed on page 14 of the Report and Recommendation, and close this civil action.

Entered this fday of May, 2018.

Alexandria, Virginia

  
    

_ /s/
Leonie M. Brinkema

United States District Judge

